         Case 1:24-cv-10049-LJL                 Document 107    Filed 02/28/25      Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        X
BLAKE LIVELY,
                                           :
                                   Plaintiff,
                                           :                   Case: 1:24-cv-10049-LJL
                                           :                   (Consolidated for pretrial purposes
               - against -                 :                   with 1:25-cv-00449-LJL)
                                           :                   rel. 1:25-cv-00779-LJL
WAYFARER STUDIOS LLC, a Delaware           :
Limited Liability Company, JUSTIN          :
BALDONI, an individual, JAMEY HEATH, an :
individual, STEVE SAROWITZ, an individual, :
IT ENDS WITH US MOVIE LLC, a California :
Limited Liability Company, MELISSA         :
NATHAN, an individual, THE AGENCY          :
GROUP PR LLC, a Delaware Limited Liability :
Company, JENNIFER ABEL, an individual,     :
                                           :
                           Defendant.      :
                                                        X
                                           X
WAYFARER STUDIOS LLC, a Delaware                               DECLARATION OF KATHERINE
Limited Liability Company, JUSTIN          :                    M. BOLGER IN SUPPORT OF
BALDONI, an individual, JAMEY HEATH, an :                       MOTION BY THE NEW YORK
individual, IT ENDS WITH US MOVIE LLC, a :                          TIMES COMPANY
California Limited Liability Company,      :                     TO DISMISS PLAINTIFFS’
MELISSA NATHAN, an individual, JENNIFER :                            FIRST AMENDED
ABEL, an individual, and STEVE SAROWITZ, :                             COMPLAINT
an individual,                             :
                                           :
                           Plaintiffs,     :
                                           :
               - against -                 :
                                           :
BLAKE LIVELY, an individual, RYAN          :
REYNOLDS, an individual, LESLIE SLOANE, :
an individual, VISION PR, INC., a New York :
corporation, and THE NEW YORK TIMES        :
COMPANY, a New York corporation,           :
                                           :
                           Defendants.     X




4905-5941-4561v.1 0034735-000142
         Case 1:24-cv-10049-LJL         Document 107        Filed 02/28/25     Page 2 of 3




         I , Katherine M. Bolger, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1. I am a partner at the law firm of Davis Wright Tremaine LLP, attorneys for Consolidated

Defendant The New York Times Company (“The Times”) in the above-captioned matter.

         2. I submit this declaration to annex documents relevant to The Times’s motion to dismiss

the First Amended Complaint (“FAC”) of Consolidated Plaintiffs Wayfarer Studios, LLC, Justin

Baldoni, Jamey Heath, It Ends With Us Movie, LLC, Melissa Nathan, Jennifer Abel and Steve

Sarowitz (the “Wayfarer Parties” or “Plaintiffs”) in this action. By separate letter-motion, The

Times seeks leave to lodge with the Clerk of Court a flash drive containing the video attached as

Exhibit 2.

         3. Annexed hereto as Exhibit 1 is a true and correct copy of an article titled “‘We Can

Bury Anyone’: Inside a Hollywood Smear Machine,” which was published on December 21, 2024

by The Times. This article is a basis for Counts One, Two, Eight, and Nine of Plaintiffs’ FAC.

The article is also available at https://www.nytimes.com/2024/12/21/business/media/blake-lively-

justin-baldoni-it-ends-with-us.html.

         4. Annexed hereto as Exhibit 2 is a true and correct copy of a video titled “The Waging

of an Alleged Smear Campaign Against Blake Lively,” which was published on the website for

The Times on December 21, 2024. This video is a basis for Counts One and Two of Plaintiffs’

FAC. The video is also available at https://www.nytimes.com/video/arts/100000009874263/the-

waging-of-an-alleged-smear-campaign-against-blake-lively.html                                   and

https://www.youtube.com/watch?v=EmwTnKPObUk.

         5. Annexed hereto as Exhibit 3 is a true and correct copy of a complaint filed by Plaintiff

and Consolidated Defendant Blake Lively on December 20, 2024 with California Civil Rights

Department.



                                              1
4905-5941-4561v.1 0034735-000142
         Case 1:24-cv-10049-LJL          Document 107        Filed 02/28/25      Page 3 of 3




         6. Annexed hereto as Exhibit 4 is a true and correct copy of email correspondence between

Megan Twohey, a reporter at The Times, and Ms. Abel, that took place on December 20, 2024.

         7. Annexed hereto as Exhibit 5 is a true and correct copy of an email sent by Ms. Twohey

to Mr. Baldoni on December 20, 2024.

         8. Annexed hereto as Exhibit 6 is a true and correct copy of an email sent by Ms. Twohey

to Mr. Heath on December 20, 2024.

         9. Annexed hereto as Exhibit 7 is a true and correct copy of an email sent by Ms. Twohey

to Ms. Nathan on December 20, 2024.

         10. Annexed hereto as Exhibit 8 is a true and correct copy of an email sent by Ms. Twohey

to Mr. Sarowitz on December 20, 2024.

         11. Annexed hereto as Exhibit 9 is a true and correct copy of an email sent by Ms. Twohey

to an individual named Jed Wallace on December 20, 2024.



         I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, New York
       February 28, 2025

                                                By: /s/ Katherine M. Bolger
                                                KATHERINE M. BOLGER




                                               2
4905-5941-4561v.1 0034735-000142
